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AO 440 (Rev. 06/12) Sununonsi in a Civil Action


                                       United States District Court
                                                                        for the

                                                    E a s t e r n D i s t r i c t o f N e w Yo r k



    Manolo Mascarinas, as the administrator of the
      Estate of Faustino Dioso, and Lourdes Dioso



                             PlaiiUiffls)
                                 V .                                                 Civil Action No. 20CV1235   RPK-RML
        THE CITY OF NEW YORK, NYPD POLICE
 OFFICER AMIR PALI, individually and in his official
  capacity, NYPD POLICE OFFICER SALVATORE
                      BALLISTERI, indivi
                            DefendantU}


                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) The City of New York, 100 Church Street, NY NY 10007




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are: Wylie Stecklow PLLC, 233 Broadway, Suite 820, NY NY 10279




          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                          D O U G L A S C . PA L M E R
                                                                                          CLERK OF COURT




Date:    3/9/2020                                                                         s/Kimberly Davis
                                                                                                         of Clerk or Deputy Clerk
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